Entered: June 29th, 2016
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Signed: June 28th, 2016

SO ORDERED




                                          UNITED STATES BANKRUPTCY COURT
                                           FOR THE DISTRICT OF MARYLAND
                                                   (Baltimore Division)

             In re:                                                 *
             Capital Trust Holdings, Inc.
             (f/k/a First Mariner Bancorp),                         *        Case No. 14-11952-DER

                       Reorganized Debtor.                          *        (Chapter 11)

             *         *        *        *        *        *        *        *        *        *        *        *          *

                                    FINAL DECREE CLOSING THE CHAPTER 11 CASE

                     Upon the Motion 1 of the Responsible Person for the entry of a Final Decree closing the

         above-captioned bankruptcy case; and the Court having found that the Court has jurisdiction

         over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and the Court having found that this is a

         core proceeding pursuant to 28 U.S.C. § 157(b)(2); and the Court having found that venue of this

         proceeding and the Motion in this District is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

         the Court having found that the Reorganized Debtor’s estate has been fully administered within

         the meaning of section 350 of the Bankruptcy Code; and the Reorganized Debtor having

         provided appropriate notice under the circumstances of the Motion and the opportunity for a

         hearing on the Motion, and that no other or further notice is required; and after due deliberation

         and sufficient cause appearing therefore, it is HEREBY ORDERED AND DECREED:

         1
                 Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Motion.


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         1.      The above-captioned bankruptcy case shall be closed as provided in section 350

of the Bankruptcy Code and Bankruptcy Rule 3022, effective as of the date this Final Decree is

entered.

         2.      The Clerk of the Court shall enter this Final Decree on the docket of the Chapter

11 Case and such docket thereafter shall be marked as closed.

         3.      This Final Decree is without prejudice to the rights of the Reorganized Debtor or

any other party in interest to seek to reopen the Chapter 11 Case for good cause shown.

         4.      The Reorganized Debtor is authorized to take all actions necessary to effectuate

the relief granted pursuant to this Final Decree in accordance with the Motion.

         5.      Notwithstanding anything herein to the contrary, all rights of the D&O Claimants

with respect to D&O Insurance are preserved in full and nothing herein shall be construed to

adversely affect the subrogation rights of the D&O Claimants with respect to the D&O

Insurance. For the avoidance of doubt, preservation of the D&O Claimants’ subrogation rights

shall not impose any further liability on the estate.

         6.      Notwithstanding Bankruptcy Rules 6004(h), 7062, or 9014, the terms and

conditions of this Final Decree shall be immediately effective and enforceable upon its entry.

         7.      The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Final Decree.



                                         END OF ORDER




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